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                                FOR PUBLICATION

                  UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT


                EMIDIO SOLTYSIK,                          No. 16-55758
                                Plaintiff-Appellant,
                                                            D.C. No.
                                 v.                      2:15-cv-07916-
                                                            AB-GJS
                ALEX PADILLA, official capacity as
                Secretary of State; DEAN LOGAN,
                official capacity as Registrar-             OPINION
                Recorder/County Clerk of the
                County of Los Angeles,
                                Defendants-Appellees,

                                and

                CALIFORNIANS TO DEFEND THE OPEN
                PRIMARY,
                    Intervenor-Defendant-Appellee.



                      Appeal from the United States District Court
                         for the Central District of California
                      André Birotte, Jr., District Judge, Presiding

                        Argued and Submitted February 8, 2018
                                 Pasadena, California

                                Filed December 3, 2018
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                    Before: William A. Fletcher, Johnnie B. Rawlinson, *
                            and John B. Owens, Circuit Judges.

                                   Opinion by Judge Owens;
                              Partial Dissent by Judge Rawlinson


                                          SUMMARY **


                                           Civil Rights

                    The panel reversed the district court’s dismissal of an
                action brought pursuant to 42 U.S.C. § 1983 by a candidate
                for public office in California challenging the California
                Elections Code, which mandates that the primary ballot list
                his party preference as “None” when in reality he prefers the
                Socialist Party USA.

                    California permits a candidate’s preference for a
                statutory defined qualified political party to appear on
                election ballots, but does not allow a candidate’s preference
                for a nonqualified political party to appear on ballots and
                instead indicates the candidate’s party preference in such
                situations as “None.” The Socialist Party USA is not one of
                California’s six qualified parties.



                    *
                      Judge Rawlinson was drawn to replace Judge Reinhardt on the
                panel following his death. Ninth Circuit General Order 3.2h. Judge
                Rawlinson has read the briefs and reviewed the record.
                    **
                       This summary constitutes no part of the opinion of the court. It
                has been prepared by court staff for the convenience of the reader.
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                    In analyzing California’s “Party Preference: None”
                requirement, the panel determined that while the burden the
                California statutes imposed on plaintiff’s First and
                Fourteenth Amendment rights, at least as pleaded, was not
                severe, it was more than slight, warranting scrutiny that was
                neither strict nor wholly deferential. The panel held that
                California, at this very early stage of the litigation, failed to
                demonstrate as a matter of law why its ballot must describe
                plaintiff as having no party preference when in fact he
                prefers the Socialist Party USA. The panel held that
                although the primary purported justification for the
                statutes—avoiding voter confusion—was an important
                government interest, it was unclear how the requirement that
                plaintiff be listed as having no party preference, advanced
                that goal. The panel therefore reversed the district court’s
                dismissal of the action for failure to state a claim, and
                remanded for proceedings consistent with its opinion.

                    Dissenting in part, Judge Rawlinson stated that because
                any burden on associational rights was slight and the
                restriction was viewpoint neutral, she was persuaded that
                existing case authority overwhelmingly militated in favor of
                upholding the challenged California provision.


                                         COUNSEL

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                San Rafael, California, for Intervenor-Defendant-Appellee.


                                         OPINION

                OWENS, Circuit Judge:

                    Emidio Soltysik is a candidate for public office in
                California. He appeals from the district court’s dismissal of
                his challenge to the California Elections Code, which
                mandates that the primary ballot list his party preference as
                “None” when in reality he prefers the Socialist Party USA.
                Because California, at this very early stage of the litigation,
                has failed to demonstrate as a matter of law why its ballot
                must describe Soltysik as having no party preference when
                in fact he prefers the Socialist Party USA, we reverse and
                remand for proceedings consistent with this opinion.

                I. LEGAL, FACTUAL,                AND       PROCEDURAL
                   BACKGROUND

                     A. California’s “Party Preference: None” Ballot
                        Requirement

                    The California Elections Code defines “party”
                narrowly—a house gathering with Kid ’n Play, a toga get-
                together at the Delta House, or a climactic fight between
                John Matrix and Bennett do not qualify.
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                     Under California law, “party” means a “political party or
                organization that has qualified for participation in any
                primary or presidential general election.” Cal. Elec. Code
                § 338. A political body may qualify as a “party” if, at least
                135 days before a primary election, (1) 0.33 percent or more
                of all voters registered at least 154 days before the primary
                have declared the political body as their partisan preference,
                or (2) a number of voters equaling at least ten percent of all
                votes cast in the most recent gubernatorial election sign and
                file a petition declaring that they prefer the would-be party
                and desire to have it participate in the upcoming primary
                election. Id. § 5100(b)–(c). A political body that does not
                satisfy either of these qualifications is not a “party” for
                California election-law purposes. 1 Id. Six political bodies
                currently qualify as “parties” in California: the American
                Independent Party, the Democratic Party, the Green Party,
                the Libertarian Party, the Peace and Freedom Party, and the
                Republican Party. Qualified Political Parties, Cal. Sec’y of
                State, http://www.sos.ca.gov/elections/political-parties/qual
                ified-political-parties/ (last visited Nov. 19, 2018).

                    Since 2010, rather than a traditional party-nomination
                system, California has used a “top two” open primary system
                for “voter-nominated” offices, which include governor,
                lieutenant governor, U.S. senator, member of the U.S. House
                of Representatives, California state senator, and the office
                Soltysik sought, member of the California State Assembly.
                Cal. Const. art. II, § 5; Cal. Elec. Code § 359.5. Under this
                system, any candidate who has paid the filing fee and
                submitted a declaration of candidacy with the signed support

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                       Section 5100 provides a third means for a political body to qualify
                as a “party,” but it applies only to already-qualified parties seeking to
                maintain their qualified status. See Cal. Elec. Code § 5100(a). It is thus
                irrelevant to Soltysik’s challenge.
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                of a specified number of registered-voter nominators appears
                on the State’s primary-election ballot, regardless of political
                affiliation. Cal. Elec. Code §§ 8020, 8040–41, 8062. Any
                voter, regardless of political affiliation, may vote for any
                candidate. Cal. Const. art. II, § 5(a). Political parties,
                qualified or not, no longer nominate candidates to represent
                them on the ballot. Cal. Elec. Code § 359.5(a). And a
                candidate’s statement that she prefers a particular party,
                either in her declaration of candidacy or on the ballot itself,
                does not make her an official nominee of that party and does
                not constitute an endorsement by that party. Id. § 8002.5(d).
                The two primary candidates with the most votes, regardless
                of political affiliation, proceed to compete in the general
                election. Id. § 359.5(a).

                     Although California has abandoned the traditional party-
                nomination system for voter-nominated offices, it has not
                dropped party labels from the primary ballot. Indeed, it
                provides a space for a candidate for a voter-nominated office
                to announce his preference for a particular party—but only
                if that party is a qualified one. Cal. Elec. Code §§ 8002.5,
                13105(a). For example, if Arnold Schwarzenegger ran as a
                Republican for a voter-nominated office, his name would
                appear on the ballot as “Arnold Schwarzenegger Party
                Preference: Republican.” See id. § 13105(a)(1). Candidates
                like Soltysik, however, who do not prefer a qualified
                political party—that is, who are affiliated with a
                nonqualified political body or who are not affiliated with any
                political body—receive the designation “Party Preference:
                None” after their names. Id. § 13105(a)(2). Candidates not
                wishing to disclose a preference also receive this label. Id.

                   To be clear, voter-nominated candidates themselves do
                not directly choose which label—“Party Preference:
                [qualified party]” or “Party Preference: None”—will appear
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                next to their names on the primary ballot. Rather, in filling
                out the required declaration of candidacy, a candidate must
                indicate her party preference as it appears on her most recent
                voter-registration form. Cal. Elec. Code § 8002.5(a). If the
                candidate disclosed a preference on that form for a qualified
                party, then she must check the box for the “Party Preference:
                [qualified party]” label, which will appear beside her name
                on the ballot. Id. §§ 8002.5(a)(1), 13105(a)(1). If the
                candidate disclosed a preference on the registration form for
                a nonqualified party, or declined to disclose any party
                preference, then she must check the box for the “Party
                Preference: None” label, which will appear beside her name
                on the ballot. 2 Id. §§ 8002.5(a)(2), 13105(a)(2).

                    Legislative materials suggest that the California
                Legislature enacted this party-preference regime primarily
                to lessen the costs of printing primary ballots by, among
                other things, reducing the language required to describe
                candidates’ party preferences and thereby shortening the
                ballots. See, e.g., Cal. S. Rules Comm., Senate Floor
                Analysis of A.B. 1413, 2011–2012 Reg. Sess., at 4–5 (Jan.
                23, 2012) (“This bill shortens the format in which a
                candidate’s party preference is displayed on the ballot . . . to
                give county election officials greater flexibility to format
                their ballots.”); Cal. Assemb. Comm. on Elections &
                Redistricting, Analysis of A.B. 1413, 2011–2012 Reg. Sess.,
                at 4 (Jan. 25, 2012) (same); id. at 3 (noting testimony of
                county elections officials that “that certain ballot printing



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                      Candidates for voter-nominated offices also must provide a ten-
                year history of their party affiliation, as shown on their current and past
                voter-registration documents, in their declaration for candidacy. Cal.
                Elec. Code § 8040(a).
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                requirements created an unnecessary burden, and could
                significantly increase election costs”).

                       B. Soltysik

                    Soltysik is the California State Chair and National Male
                Co-Chair of the Socialist Party USA, which is not one of
                California’s six qualified parties. In 2014, Soltysik ran for
                the California State Assembly and campaigned as a member
                of the Socialist Party USA. But because the Socialist Party
                USA is not a “qualified” party under California law, the
                primary ballot listed “Party Preference: None” next to his
                name. See Cal. Elec. Code § 13105(a)(2). Soltysik told
                voters on the campaign trail that “Party Preference: None”
                would accompany his name on the ballot, but he alleges that
                the label nonetheless “caused confusion among the limited
                number of voters to whom he was able to speak and . . .
                countless more.” Soltysik did not proceed to the general
                election.

                       C. Procedural Background

                    Soltysik filed suit under 42 U.S.C. § 1983 against
                California Secretary of State Alex Padilla and Los Angeles
                County Registrar-Recorder/County Clerk Dean Logan in
                their official capacities. 3 Soltysik alleges that Sections
                8002.5 and 13105 of the California Elections Code (the
                “statutes”) violate his (1) First and Fourteenth Amendment
                rights to freedom of association and equal protection;
                (2) First Amendment right to freedom from viewpoint

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                       Jennifer McClellan, a member of the Socialist Party USA’s
                National Committee, former Vice Chair of the party’s Ventura Local
                Chapter, and former California State Assembly candidate, was also a
                plaintiff in this action, but she did not appeal the district court’s judgment
                and is thus no longer a party to the case.
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                discrimination; and (3) First Amendment right to freedom
                from compelled speech. He seeks a declaration that the
                statutes are unconstitutional both facially and as applied to
                him, and a permanent injunction against their enforcement.
                Californians to Defend the Open Primary (“CADOP”), a
                nonprofit corporation that advocates for California’s open-
                primary system, intervened as a defendant. Secretary Padilla
                and CADOP then filed motions to dismiss Soltysik’s lawsuit
                for failure to state a claim. 4

                    The district court applied the Anderson/Burdick
                balancing test developed for constitutional challenges to
                election laws and granted the motions to dismiss with
                prejudice. See generally Anderson v. Celebrezze, 460 U.S.
                780 (1983); Burdick v. Takushi, 504 U.S. 428 (1992). The
                court rejected Soltysik’s contention that Anderson/Burdick
                balancing is inherently “fact-intensive” such that the court
                should allow the parties to proceed to discovery.

                    As to Soltysik’s associational claim, the district court
                concluded as a matter of law that the statutes’ party-label
                restriction was not a “severe” burden, reasoning that the
                statutes neither barred ballot access to any candidate nor
                infringed on a candidate’s ability to associate with
                nonqualified political bodies. The court also noted that
                candidates lack the right to use the ballot “to convey a
                political message or even a voter cue.” The district court
                then considered the State’s purported interests in
                (1) “protecting the integrity, fairness, and efficiency of [its]
                ballots and election processes”; (2) “prevent[ing] ‘frivolous

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                       Los Angeles Registrar-Recorder/County Clerk Logan filed
                statements of non-opposition to the Secretary and CADOP’s motions to
                dismiss. Though he remains a defendant-appellee to this appeal, he has
                not participated in the proceedings in this court.
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                or fraudulent candidacies’”; (3) “establish[ing] minimum
                qualifications for political parties to participate in the
                election and to appear on the ballot to avoid confusion,
                deception, and frustration of the democratic process”; and
                (4) preventing “sloganeering designations.” The district
                court did not mention election costs. The district court
                concluded that the State’s interests were, as a matter of law,
                “sufficiently weighty to justify the slight burden that the
                party designation restrictions . . . place[d] on [Soltysik’s]
                rights to association and equal protection.”

                    As to Soltysik’s viewpoint-discrimination claim, the
                district court rejected Soltysik’s argument that the ballot is a
                limited public forum such that strict scrutiny applies.
                Applying the Anderson/Burdick balancing test again, the
                court held that the statutes were “viewpoint neutral” because
                the requirements of Section 5100, which govern the
                difference between qualified and nonqualified parties,
                regulated all parties regardless of viewpoint and were thus
                themselves neutral. Concluding there was no burden “by
                way of viewpoint discrimination,” the district court did not
                consider the State’s interests again.

                    Finally, the district court rejected Soltysik’s compelled-
                speech claim for two reasons. First, the court reasoned, the
                label “Party Preference: None” was accurate in the context
                of the California Elections Code, since “party” refers only to
                a qualified party, which the Socialist Party USA is not.
                Therefore, the court said, “it is accurate to describe
                [Soltysik’s] ‘Party Preference’ as ‘None.’” Second, the
                court continued, because ballots were not “candidate
                speech,” the party preference label was not “compelled
                speech.” And with no “restriction on [Soltysik’s] right to be
                free of compelled speech,” reexamination of the State’s
                interests was, in the court’s view, unnecessary.
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                   Soltysik timely appealed. We have jurisdiction under
                28 U.S.C. § 1291.

                II. STANDARD OF REVIEW

                    We review de novo a dismissal for failure to state a claim
                under Federal Rule of Civil Procedure 12(b)(6). Carlin v.
                DairyAmerica, Inc., 705 F.3d 856, 866 (9th Cir. 2013). We
                “accept the plaintiffs’ allegations as true and construe them
                in the light most favorable to plaintiffs” and will reverse
                unless the complaint fails to “state a claim to relief that is
                plausible on its face.” Id. at 866–67 (citations omitted).

                III.   DISCUSSION

                    “[G]overnment must play an active role in structuring
                elections,” but any election system “inevitably affects—at
                least to some degree—the individual’s right to vote and his
                right to associate with others for political ends.” Burdick,
                504 U.S. at 433 (quoting Anderson, 460 U.S. at 788). Thus,
                “the Supreme Court [has] developed a balancing test to
                resolve the tension between a candidate’s First Amendment
                rights and the state’s interest in preserving the fairness and
                integrity of the voting process.” Rubin v. City of Santa
                Monica, 308 F.3d 1008, 1014 (9th Cir. 2002). “This is a
                sliding scale test, where the more severe the burden, the
                more compelling the state’s interest must be, such that ‘a
                state may justify election regulations imposing a lesser
                burden by demonstrating the state has important regulatory
                interests.’” Ariz. Green Party v. Reagan, 838 F.3d 983, 988
                (9th Cir. 2016) (quoting Ariz. Libertarian Party v. Reagan,
                798 F.3d 723, 729–30 (9th Cir. 2015)). A regulation
                imposing “severe” restrictions, at the far end of the scale, is
                subject to strict scrutiny. See Burdick, 504 U.S. at 434.
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                    Our court has applied this test to a wide variety of
                challenges to ballot regulations and other state-enacted
                election procedures. See, e.g., Chamness v. Bowen, 722 F.3d
                1110, 1116–19 (9th Cir. 2013) (applying framework to
                California law requiring independent candidates to be
                described as having “No Party Preference”); Dudum v.
                Arntz, 640 F.3d 1098, 1106–17 (9th Cir. 2011) (applying
                framework to San Francisco’s “instant runoff” voting
                system); Matsumoto v. Pua, 775 F.2d 1393, 1396–98 (9th
                Cir. 1985) (applying framework to city charter provision
                barring recalled elected officials from participating in future
                elections for two years). And when employing this test, we
                have stressed that its application “rests on the specific facts
                of a particular election system, not on strained analogies to
                past cases,” as “[a]nalogy and rhetoric are no substitute for
                evidence.” Ariz. Green Party, 838 F.3d at 990 (internal
                quotation marks and alterations omitted). Indeed, “[t]he
                Supreme Court and our sister circuits have emphasized the
                need for context-specific analysis in ballot access cases.” Id.
                (collecting cases).

                    In analyzing California’s “Party Preference: None”
                requirement, we agree with the Secretary of State that the
                burden the California statutes impose on Soltysik’s First and
                Fourteenth Amendment rights, at least as Soltysik has
                pleaded it, is not severe. The statutes do not, for instance,
                bar Soltysik from office or the ballot altogether, see, e.g.,
                Libertarian Party of Ill. v. Scholz, 872 F.3d 518, 524–25 (7th
                Cir. 2017); Matsumoto, 775 F.2d at 1397; prohibit the
                Socialist Party USA or other minority parties from
                campaigning for Soltysik or endorsing him as a “standard
                bearer who best represents the party’s ideologies and
                preferences,” Eu v. S.F. Cty. Democratic Cent. Comm.,
                489 U.S. 214, 224 (1989) (citation omitted); or suffocate
                “core political speech” by, for instance, banning Soltysik
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                from communicating his preference for the party’s ideology
                or platform in the public square, see, e.g., Nader v. Brewer,
                531 F.3d 1028, 1035–38 (9th Cir. 2008). We therefore
                decline to apply strict scrutiny. Burdick, 504 U.S. at 433–
                34.

                     Our inquiry, however, does not end there. Ballot
                regulations “that impose a lesser burden on speech rights”
                still must be “reasonably related to achieving the state’s
                ‘important regulatory interests.’” Chamness, 722 F.3d at
                1116 (quoting Rubin, 308 F.3d at 1014). While the burden
                here “is not severe enough to warrant strict scrutiny review,”
                it nonetheless “is serious enough to require an assessment of
                whether alternative methods would advance the proffered
                governmental interests.” Dudum, 640 F.3d at 1114 n.27; see
                also Ariz. Green Party, 838 F.3d at 988 (observing that the
                analysis looks for “means-end fit”).

                    A few features of the “Party Preference: None” regime
                persuade us that while the burden it imposes on Soltysik’s
                rights is not severe, it is more than “slight,” warranting
                scrutiny that is neither strict nor wholly deferential. Most
                obviously, as applied to Soltysik and other candidates who
                prefer nonqualified parties, California’s party-preference
                regime is potentially misleading in at least two ways. First,
                “Party Preference: None” suggests that Soltysik, an avowed
                Socialist, has no political preferences, affiliations, or beliefs,
                which is simply untrue. Second, even if we assume that a
                reasonable California voter is aware that the Elections Code
                defines “party” to mean “qualified party,” the phrase “Party
                Preference: None” suggests that Soltysik has no preference
                as among the six qualified parties, which may or may not be
                true. Stated differently, the “Party Preference: None” label
                suggests that Soltysik, and other candidates like him, have
                affirmatively chosen to eschew the views of all six qualified
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                parties, regardless of any actual ideological overlap. Cf.
                Chamness, 722 F.3d at 1117 (noting possibility that “‘No
                Party Preference’ might . . . evoke a neutral or even negative
                view—that the candidate is apathetic to the views of the
                other parties; i.e., while he does not identify with them, he
                does not reject them.”).

                    These two suggestions are not only factually misleading.
                Given the potential power of the party-preference label as a
                signal to voters of a candidate’s ideological bona fides, a
                label suggesting affirmative dissociation from any political
                ideology is also a potentially significant handicap “at the
                climactic moment of choice” in the voting booth. Rosen v.
                Brown, 970 F.2d 169, 175 (6th Cir. 1992); see also Tashjian
                v. Republican Party of Conn., 479 U.S. 208, 220 (1986) (“To
                the extent that party labels provide a shorthand designation
                of the views of party candidates on matters of public
                concern, the identification of candidates with particular
                parties plays a role in the process by which voters inform
                themselves for the exercise of the franchise.”). In light of
                these potential distortions, we cannot agree with the
                Secretary that, as a matter of law, the statutes impose at worst
                a “slight” burden on candidates like Soltysik.

                    The burden of the misleading party-preference label,
                moreover, falls entirely on candidates like Soltysik who
                happen to prefer a nonqualified party. This court has tended
                to uphold election regulations that are “generally applicable,
                even-handed, politically neutral, and which protect the
                reliability and integrity of the election process.” Rubin,
                308 F.3d at 1014; see also Anderson, 460 U.S. at 788 n.9
                (“We have upheld generally-applicable and evenhanded
                restrictions that protect the integrity and reliability of the
                electoral process itself.”). But the California statutes here
                grant an accurate party label—and thus the benefit of a
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                potentially powerful voting cue—to candidates who affiliate
                with a qualified party, while denying that label and that
                benefit to candidates who do not. “A burden that falls
                unequally on new or small political parties or on independent
                candidates impinges, by its very nature, on associational
                choices protected by the First Amendment” and
                “discriminates against those candidates and—of particular
                importance—against those voters whose political
                preferences lie outside the existing political parties.”
                Anderson, 460 U.S. at 793–94. The California statutes
                impose just this kind of unequal burden. And in light of the
                potential value of a party label as a voting cue, we are
                persuaded that this relative disadvantage, as pleaded, is
                “serious enough” to warrant more exacting review. 5 Dudum,
                640 F.3d at 1114 n.27; see also Marcellus v. Va. State Bd. of
                Elections, 849 F.3d 169, 177 (4th Cir. 2017) (citing Rosen,
                970 F.2d at 171) (“Of course, if a law gives some candidates
                for the Senate a party identifier, but not other candidates for
                the Senate, it would impose a burden on the associational
                rights of the candidates left unidentified, even though no
                candidate has an absolute right to be so identified.”). Thus,
                we conclude that the burden on candidates like Soltysik is
                neither severe nor minimal.

                    That the statutes permit Soltysik to convey his political
                preferences to voters outside the ballot is not enough to
                neutralize the burden the misleading party-preference label
                allegedly imposes. Soltysik avers that when he told voters

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                       As we discuss below, Soltysik’s allegations regarding the impact
                of party labels on voter behavior will be subject to proof on remand. Cf.,
                e.g., Chamness, 722 F.3d at 1117–18 (rejecting argument for requiring
                alternative party label because on summary judgment plaintiff “failed to
                provide any evidence that the two phrases are actually likely to be
                understood by voters to convey these different meanings, and, if they do,
                that the distinction would tend to affect the way voters cast their votes”).
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                on the campaign trail that the “Party Preference: None” label
                would appear beside his name on the primary ballot, voters
                questioned the authenticity of his affiliation with the
                Socialist Party USA. If these allegations are true—and at
                this stage of the litigation we must assume they are—then
                his ability to promote his views through other means was
                meaningless. To borrow another court’s phrasing, “the
                absence of a label for a candidate”—or in this case, the use
                of a misleading one—“gives rise to mistrust and negative
                inferences” and denies a candidate “the identification he had
                worked to establish at the crucial moment of choice in the
                election campaign.” Rosen, 970 F.2d at 173.

                    Having established the extent of the burden Soltysik has
                pleaded, we turn now to the other side of the scale. Without
                factual support at this early stage, the Secretary’s arguments
                for the “Party Preference: None” requirement do not warrant
                dismissal of Soltysik’s claims. The Secretary and CADOP’s
                primary purported justification for the statutes—avoiding
                voter confusion—is an important government interest.
                Chamness, 722 F.3d at 1118. Yet we struggle to understand
                how this regime—which requires Soltysik, the National
                Male Co-Chair and California State Chair of the Socialist
                Party USA, to be listed as having no “party preference”—
                advances that goal. Indeed, it seems self-evident that this
                regime has precisely the opposite consequence.

                    Nor is it clear why less burdensome (and less
                misleading) alternatives would not accomplish the goal of
                reducing voter confusion or, as the Secretary and CADOP
                also assert, preventing candidates from disguising political
                slogans or commercial advertisements as party-preference
                labels or from circumventing California’s ban on “status
                designations.” See Cal. Elec. Code § 13107(a). For
                example, the Secretary could place an asterisk by the name
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                of any candidate who does not affiliate with one of the six
                qualified parties, directing the voter to a short and clear
                explanation that the candidate is not so affiliated. Or the
                ballot could list the political body with which a candidate
                identifies (such as the Socialist Party USA), and, again using
                an asterisk, specify that that body does not qualify as a
                “party” under California law. These techniques may
                accommodate whatever continued interests California may
                have in maintaining the distinction between qualified and
                nonqualified groups, see Chamness, 722 F.3d at 1118–19 &
                n.5, while avoiding mischaracterizations of candidates
                affiliated with the latter. 6

                    Of course, there may be other (and better) ways of
                accommodating California’s interests without the potentially
                misleading “Party Preference: None” designation. But
                without any factual record at this stage, we cannot say that
                the Secretary’s justifications outweigh the constitutional
                burdens on Soltysik as a matter of law. A fully developed
                evidentiary record will permit a court to evaluate whether the
                “Party Preference: None” requirement is a constitutionally
                permissible means of combatting voter confusion, or
                whether there are more precise ways to accomplish this goal


                    6
                       We are skeptical of the Secretary’s argument that the party-
                preference labeling system is necessary to avoid fraudulent attempts to
                split an opposing party’s vote—i.e., “party raiding.” As to the
                Secretary’s concern that a candidate may self-designate as preferring,
                say, the “Replublican Party,” the district court is free to consider on
                remand whether a rule forbidding designations that “would mislead the
                voter,” as California has in place for ballot occupational designations,
                Cal. Elec. Code § 13107(e)(1), and applications to qualify as a “party,”
                id. § 5100(a), could be a more precise means of preventing fraud while
                avoiding onerously misleading party-preference labels in cases like
                Soltysik’s.
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                that do not falsely describe the preferences of candidates like
                Soltysik.

                    Our decision in Chamness, which featured a similar (but
                meaningfully different) California ballot requirement,
                illustrates why a remand for further factual development is
                warranted here. The version of the California Elections
                Code then in effect required the ballot to describe Chamness
                as having “No Party Preference,” but Chamness wanted the
                ballot to list his party preference as “Independent.” 722 F.3d
                at 1113, 1115. Reviewing the grant of summary judgment
                in the Secretary’s favor, our court rejected Chamness’s First
                and Fourteenth Amendments claim because he “failed to
                provide any evidence that the two phrases are actually likely
                to be understood by voters to convey . . . different meanings,
                and, if they do, that the distinction would tend to affect the
                way voters cast their votes.” Id. at 1117–18 (emphasis
                added).

                     Here, because the district court dismissed his complaint,
                Soltysik never had the opportunity to develop such evidence,
                and on the record before us we cannot say as a matter of law
                that the “Party Preference: None” designation is a
                sufficiently unobtrusive means of clarifying to voters that
                Soltysik’s preferred political body does not qualify as a
                “party” under California election law. See, e.g., Duke v.
                Cleland, 5 F.3d 1399, 1405–06 & n.6 (11th Cir. 1993)
                (vacating dismissal of ballot-regulation challenge and
                remanding for further proceedings because “[d]iscovery has
                not commenced” and “[t]he existence of a state interest . . .
                is a matter of proof”); Wood v. Meadows, 117 F.3d 770, 776
                (4th Cir. 1997) (reversing grant of summary judgment and
                remanding “for further factual development both as to the
                burdens . . . upon independent candidates and their
                supporters, and as to the interests of the [government] in
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                imposing that [burden]” because the record was “virtually
                barren of any evidence of the strength or legitimacy of the
                [government’s] interests, administrative or otherwise”);
                Rosen, 970 F.2d at 172–73, 176 (reviewing evidence
                supporting plaintiff’s challenge to Ohio ballot law, including
                affidavits of three experts). Nor can we conclude as a matter
                of law that a factually misleading label like the one next to
                Soltysik’s name would not “tend to affect the way voters cast
                their votes.” Chamness, 722 F.3d at 1118.

                    We disagree with the dissent’s assertion that “in the
                absence of a severe burden to constitutional rights, no
                tailoring of election provisions is required.” Post at 43
                (opinion of Rawlinson, J.). Our cases establish that “there
                may be ‘instances where a burden is not severe enough to
                warrant strict scrutiny review but is serious enough to
                require an assessment of whether alternative methods would
                advance the proffered governmental interests.’” Ariz.
                Libertarian Party, 798 F.3d at 732 n.11 (quoting Dudum,
                640 F.3d at 1114 n.27). Given the potential distortive effects
                of the “Party Preference: None” label when applied to
                candidates like Soltysik—effects which, as we have
                resolved, are not severe but are more than minimal—we are
                persuaded that this case is one of those instances.

                    We also disagree with the notion that a state is
                categorically “not required to make an evidentiary showing
                of its interests.” Post at 42. We acknowledge, as we must,
                that a state need not offer “elaborate, empirical verification”
                that voter confusion in fact occurs, Timmons, 520 U.S. at
                364, particularly where the burden a challenged regulation
                imposes on a plaintiff’s associational rights is slight or
                minimal. But we cannot agree that “[e]ven a speculative
                concern of voter confusion is sufficient” as a matter of law
                to justify any regulation that burdens a plaintiff’s rights, post
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                at 27 (bracket omitted) (quoting Stone v. Bd. of Election
                Comm’rs, 750 F.3d 678, 685 (7th Cir. 2014)), especially
                where that burden is more than de minimis. If the
                Anderson/Burdick framework is to remain a sliding-scale,
                “means-end fit analysis,” Pub. Integrity All., Inc. v. City of
                Tucson, 836 F.3d 1019, 1024 (9th Cir. 2016) (en banc), that
                from time to time “require[s] an assessment of whether
                alternative methods would advance the proffered
                governmental interests,” Dudum, 640 F.3d at 1114 n.27, then
                a state must sometimes be required to offer evidence that its
                regulation of the political process is a reasonable means of
                achieving the state’s desired ends. See, e.g., Ariz. Green
                Party, 838 F.3d at 990 (“Analogy and rhetoric are no
                substitute for evidence . . . .”); cf., e.g., Latta v. Otter,
                771 F.3d 456, 469 (9th Cir. 2014) (refusing to take
                legislative justifications at face value when applying
                heightened scrutiny to policies that “implicate constitutional
                rights”). Permitting a state to justify any non-severe voting
                regulation with a merely “speculative concern of voter
                confusion,” post at 27 (bracket omitted) (quoting Stone, 750
                F.3d at 685), would convert Anderson/Burdick’s means-end
                fit framework into ordinary rational-basis review wherever
                the burden a challenged regulation imposes is less than
                severe. We have already rejected such an approach. Pub.
                Integrity All., 836 F.3d at 1024–25.

                    We note finally that unlike this case, most of the
                decisions to which the dissent refers either arose from
                summary-judgment proceedings; held the burden on the
                plaintiff to be minimal as a matter of law and thus accorded
                the broadest deference to the government’s asserted
                justifications for imposing that burden; or both. See, e.g.,
                Timmons, 520 U.S. at 355 (arising from summary
                judgment); Munro v. Socialist Workers Party, 479 U.S. 189,
                192–93 (1986), rev’g 765 F.2d 1417, 1418 (9th Cir. 1985)
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                (arising from summary judgment); Jenness v. Fortson,
                403 U.S. 431, 432–33 (1971) (arising from summary
                judgment and pre-dating Anderson/Burdick framework);
                Ariz. Libertarian Party, 798 F.3d at 728, 730–31 (arising
                from summary judgment and holding burden to be minimal);
                Dudum, 640 F.3d at 1103, 1105–14 (arising from summary
                judgment and holding burden to be minimal); Lightfoot v.
                Eu, 964 F.2d 865, 867–73 (9th Cir. 1992) (holding burden,
                if any, to be minimal); Socialist Workers Party v. Eu,
                591 F.2d 1252, 1256, 1259–62 (9th Cir. 1978) (arising from
                summary        judgment,    pre-dating      Anderson/Burdick
                framework, and applying ordinary rational-basis review). In
                fact, one case the dissent cites, Dart v. Brown, 717 F.2d
                1491, 1497 (5th Cir. 1983), arose from a judgment following
                a full trial. Given the very different posture of these cases,
                and in light of our determination that Soltysik has adequately
                pleaded that the “Party Preference: None” label imposes
                more than a minimal burden, these cases support, rather than
                undermine, our conclusion that further factual development
                is necessary and appropriate in this case.

                    Because we remand this case for further factual
                development, the district court is free to reapply the
                Anderson/Burdick framework, and thus reassess Soltysik’s
                freedom-of-association, viewpoint-discrimination, and
                compelled-speech arguments, with the benefit of a complete
                evidentiary record regarding both the burden on Soltysik and
                the interests of the State. 7 Duke, 5 F.3d at 1405–06 (“We
                    7
                       Although Soltysik requests application of traditional First
                Amendment jurisprudence to his viewpoint-discrimination and
                compelled-speech claims, each is folded into the Anderson/Burdick
                inquiry. See, e.g., Dudum, 640 F.3d at 1106 n.15 (noting that Supreme
                Court has addressed election-law challenges arising under separate
                constitutional provisions “using a single analytic framework”); Rubin,
                308 F.3d at 1014 (rejecting argument that fora analysis applies to ballot
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                take no position as to the ultimate merits of the plaintiffs’
                claims. . . . Upon a clear determination of [the State’s]
                interests, the district court must weigh them against the
                purported burden upon the plaintiffs’ constitutional rights
                . . . .”). The court may, for instance, consider the increased
                cost, if any, of alternatives to the current “Party Preference:
                None” designation when performing the balancing test. See,
                e.g., Dudum, 640 F.3d at 1116 (discussing evidence that
                government’s preferred voting method would save money, a
                legitimate state interest); Weber v. Shelley, 347 F.3d 1101,
                1106 (9th Cir. 2003) (recognizing a state’s interest in saving
                money). Ballot-length and -design obstacles may figure into
                that inquiry. The court may also wish to consider whether
                California’s interest in policing the qualified-nonqualified
                distinction remains vital under the current top-two regime
                and thus whether that interest justifies the burden the statutes
                impose. 8 See Chamness, 722 F.3d at 1118 n.5 (observing
                that the holding of Libertarian Party v. Eu, 620 P.2d 612,


                and applying Anderson/Burdick). As our analysis here indicates,
                whether and to what extent the statutes improperly discriminate on the
                basis of viewpoint or compel candidate speech is relevant under that
                standard to assessing the burden they impose on candidates like Soltysik.
                See Rubin, 308 F.3d at 1015 (considering whether “regulation is
                viewpoint neutral” in applying Anderson/Burdick test); Chamness,
                722 F.3d at 1118 (same); Caruso v. Yamhill Cty. ex rel. Cty. Comm’r,
                422 F.3d 848, 854–62 (9th Cir. 2005) (rejecting application of
                compelled-speech cases to ballot regulation in favor of
                Anderson/Burdick balancing).

                     8
                       To the extent the Secretary’s purported justifications are not
                reflected in the statutes’ legislative history, we reject Soltysik’s
                argument that our decision in Public Integrity Alliance, Inc. v. City of
                Tucson, 836 F.3d at 1025, prohibits consideration of such unstated
                rationales. Cf. Timmons, 520 U.S. at 366 n.10 (relying on state interest
                apparently articulated for first time at oral argument in Supreme Court);
                Dudum, 640 F.3d at 1116 n.28 (similarly interpreting Timmons).
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                618 (Cal. 1980), that “the distinction between qualified and
                nonqualified parties serves a compelling state interest” no
                longer controls because it relied “on conditions that no
                longer obtain—namely, the use of party primaries conducted
                by the state”).

                    We refrain from prejudging whether California’s statutes
                will survive further scrutiny under the Anderson/Burdick
                framework once both sides have developed their evidence.
                We decide only that at this juncture, judgment in the
                Secretary’s favor is premature. Lacking any evidence
                showing the true extent of the burden on candidates like
                Soltysik and the weightiness of California’s interests in
                imposing that burden, “we find ourselves in the position of
                Lady Justice: blindfolded and stuck holding empty scales.”
                Ariz. Libertarian Party, 798 F.3d at 736 (McKeown, J.,
                concurring).

                   REVERSED AND REMANDED.



                RAWLINSON, Circuit Judge, dissenting in part:

                    I respectfully dissent from that portion of the majority
                opinion characterizing as less than severe, but more than
                slight, the burden placed on Plaintiff Emidio Soltysik
                (Soltysik) by the California statute governing the content of
                election ballots.

                     I also part company with my colleagues’ conclusions that
                a remand is warranted, that the statute is discriminatory, that
                the existence of alternative means of communication is
                irrelevant to our analysis, and that the open primary context
                is relevant to our analysis.
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                    I start from the premise that the purpose of a ballot is to
                effectuate the votes of the citizenry, and not as a means of
                communication for politicians seeking office. See Timmons
                v. Twin Cities Area New Party, 520 U.S. 351, 365 (1997);
                see also Rubin v. City of Santa Monica, 308 F.3d 1008, 1016
                (9th Cir. 2002), quoting Timmons, 520 U.S. at 365 (“A ballot
                is a ballot, not a bumper sticker. Cities and states have a
                legitimate interest in assuring that the purpose of a ballot is
                not transformed from a means of choosing candidates to a
                billboard for political advertising.”) (alterations omitted).

                    In addition, we must keep in mind that the states have
                substantial discretion to regulate the time, place, and manner
                of elections conducted within their borders. See Anderson v.
                Celebrezze, 460 U.S. 780, 788 (1983) (“[A]s a practical
                matter, there must be a substantial regulation of elections if
                they are to be fair and honest and if some sort of order, rather
                than chaos, is to accompany the democratic processes. . . .”)
                (citation omitted); see also Rubin, 308 F.3d at 1014 (same);
                Schrader v. Blackwell, 241 F.3d 783, 790 (6th Cir. 2001)
                (“[S]tates have significant authority to regulate the
                formation of political parties and the identification of
                candidates on the ballot. . . .”) (citations omitted); Field v.
                Bowen, 199 Cal. App. 4th 346, 356 (2011) (“States may, and
                inevitably must, enact reasonable regulations of parties,
                elections, and ballots to reduce election-and-campaign-
                related disorder . . .”) (quoting Timmons, 520 U.S. at 358)
                (alteration omitted).

                   Those challenging ballot regulations face a steep
                challenge. State and federal courts agree that this burden is
                a heavy one. See Rubin, 308 F.3d at 1017 (“[A] party
                challenging [a ballot] regulation bears a heavy constitutional
                burden. . . .”) (citation and internal quotation marks
                omitted); see also Field, 199 Cal. App. 4th at 729 (same).
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                Generally, absent a severe burden on the rights of association
                and expression implicit in the act of casting a ballot, the
                State’s known regulatory interests will suffice to justify
                reasonable ballot restrictions. See Timmons, 520 U.S. at 358
                (“[A] State’s important regulatory interests will usually be
                enough to justify reasonable, nondiscriminatory
                restrictions. . . .”) (citations and internal quotation marks
                omitted); see also Anderson, 460 U.S. at 788 (“[T]he state’s
                important regulatory interests are generally sufficient to
                justify reasonable, nondiscriminatory [ballot] restrictions.”)
                (footnote reference omitted); Burdick v. Takushi, 504 U.S.
                428, 434 (“[W]hen a state election law provision imposes
                only reasonable, nondiscriminatory restrictions upon the
                First and Fourteenth Amendment rights of voters, the State’s
                important regulatory interests are generally sufficient to
                justify the restrictions. . . .”) (citations and internal quotation
                marks omitted); Dudum v. Arntz, 640 F.3d 1098, 1106 (9th
                Cir. 2011) (“Where non-severe, lesser burdens on voting are
                at stake, we apply less exacting review, and a State’s
                important regulatory interests will usually be enough to
                justify reasonable, nondiscriminatory restrictions.”)
                (quoting Timmons, 520 U.S. at 358) (parallel citation,
                footnote reference, and internal quotation marks omitted);
                Rubin, 308 F.3d at 1017 (same); Arizona Libertarian Party
                v. Reagan, 798 F.3d 723, 730 (9th Cir. 2015), as amended
                (“A state may justify election regulations imposing a [less
                than severe] burden by demonstrating the state has important
                regulatory interests.”) (citation, alteration, and internal
                quotation marks omitted); Field, 199 Cal. App. 4th at 356
                (same). It almost goes without saying that the process of
                gaining entry onto a ballot is not required to be free of
                hurdles. See Timmons, 520 U.S. at 367 (“States need not
                remove all of the many hurdles third parties face in the
                American political arena today.”).
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                   The United States Supreme Court, United States Courts
                of Appeal and the California appellate courts have
                consistently upheld ballot restrictions similar to those
                involved in this case, further demonstrating the difficulty of
                successfully challenging election laws.

                    Soltysik complains that he is unable to designate himself
                as a member of the Socialist Party USA on the ballot.
                Because that party is not a qualified party under California
                law, the ballot describes Soltysik as having no (qualified)
                party preference.

                    I agree with the majority that “a state may justify election
                regulations imposing a lesser burden by demonstrating the
                state has important regulatory interests.” Arizona Green
                Party v. Reagan, 838 F.3d 983, 988 (9th Cir. 2016) (citation
                omitted).     However, I disagree with the majority’s
                application of that standard, including identification of the
                state’s important interests.

                    It is important to note that in identifying the state’s
                important interests, the court is not limited to those interests
                articulated in legislative history. See Ariz. Libertarian
                Party, 798 F.3d at 732 (“In evaluating the constitutionality
                of [election] statutes, we may look to any conceivable
                interest promoted by the challenged procedures . . .”)
                (citation and internal quotation marks omitted) (emphasis
                added). And no evidentiary showing on the part of the state
                is required. See Timmons, 520 U.S. at 364 (noting that
                “elaborate, empirical verification of the weightiness of the
                State’s asserted justifications” is not required) (citation
                omitted); see also Munro v. Socialist Workers Party,
                479 U.S. 189, 196 (1986) (“To require States to prove actual
                voter confusion, ballot overcrowding, or the presence of
                19reasonable ballot access restrictions would invariably lead
                to endless court battles over the sufficiency of the evidence
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                marshaled by a State to prove the predicate. . . . Legislatures,
                we think, should be permitted to respond to potential
                deficiencies in the electoral process with foresight.”)
                (internal quotation marks omitted); Stone v. Bd. of Election
                Cmr’s, 750 F.3d 678, 685 (7th Cir. 2014) (“[L]egislatures do
                not need to make a particularized showing of the existence
                of voter confusion, ballot overcrowding, or the presence of
                frivolous candidacies prior to the imposition of reasonable
                restrictions on ballot access.”) (quoting Munro, 479 U.S. at
                194–95) (internal quotation marks omitted). “Even a
                speculative concern [of] voter confusion is sufficient.” Id.
                (citation and internal quotation marks omitted). 1

                    In the context of a ballot restriction that is less than
                severe, no tailoring of the regulation is generally required.
                See Timmons, 520 U.S. at 365 (“[B]ecause the burdens the
                [statute] imposes on the party’s associational rights are not
                severe, the State need not narrowly tailor the means it
                chooses to promote ballot integrity. The Constitution does
                not require that [the State] compromise the policy choices
                embodied in its ballot-access requirements to accommodate
                the [party] . . .”) (citations omitted); see also Dudum,
                640 F.3d at 1114 (“[W]hen a challenged rule imposes only
                limited burdens on the right to vote, there is no requirement
                that the rule is the only or best way to further the proffered
                interests.”) (citations omitted); Pest Committee v. Miller,
                626 F.3d 1097, 1110 (9th Cir 2010) (concluding that the
                district court “was not obliged to consider whether [the

                    1
                       The majority disagrees with this precept. See Majority Opinion, p.
                19–20. But a mere few months ago, we reiterated this point in a matter-
                of-fact-manner. See Allied Concrete & Supply Co. v. Baker, 904 F.3d
                1053, 1065 (9th Cir. 2018) (“A legislative choice may be based on
                rational speculation unsupported by evidence or empirical data.”),
                quoting FCC v. Beach Commc’ns, Inc., 508 U.S. 307, 315 (1993)
                (alterations omitted).
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                State’s] system could or should be more narrowly tailored”)
                (citation omitted); Ariz. Libertarian Party, 798 F.3d at 732
                (“[W]e need not determine whether the interests served by
                [the statute] can be better served by other means . . .”).
                However, the existence of alternative means of
                communicating a candidate’s message weighs in favor of a
                finding of constitutionality. See Jenness v. Fortson, 403
                U.S. 431, 438 (1971) (noting that despite the election
                restrictions, “independent candidates and members of small
                or newly formed political organizations are wholly free to
                associate, to proselytize, to speak, to write, and to organize
                campaigns for any school of thought they wish”); see also
                Munro, 479 U.S. at 198 (same) (quoting Jenness, 403 U.S.
                at 438); Timmons, 520 U.S. at 363 (observing that “[t]he
                party retains great latitude in its ability to communicate ideas
                to voters and candidates through its participation in the
                campaign, and party members may campaign for, endorse,
                and vote for their preferred candidate even if he is listed on
                the ballot as another party’s candidate”) (citations omitted);
                Rubin, 308 F.3d at 1016 (explaining that the candidate’s
                ability to submit a “Candidate’s Statement” in a “Voter
                Information Pamphlet” served to “greatly decrease[] the
                burden imposed by the ballot restriction [on the designation
                of one’s occupation]”) (citing Timmons, 520 U.S. at 362–
                63).

                    Finally, and importantly, we have ruled that the public
                forum analysis is not applicable in the ballot restriction
                context. See id. at 1014 (“As we see it, the issue is not
                whether a ballot is some sort of public forum, but whether,
                applying Supreme Court election law, California’s ballot
                regulations constitute “severe burdens” on free speech
                rights.”) (citing Timmons, 520 U.S. at 358).
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                    As stated, Soltysik’s action is predicated on the
                California election statute that precludes a candidate from
                designating a party on the ballot if that party is not a qualified
                party as defined by California election code provisions. See
                Cal. Elec. Code § 5100 (defining a qualified party as one that
                received at least 2% of the vote for the office during the last
                gubernatorial primary, or .33 percent of registered voters, or
                petition signatories equal to 10 percent of the votes cast
                during the last gubernatorial election).

                    Courts throughout the country have universally
                acknowledged that states have a recognized interest in
                requiring a certain level of support before granting official
                recognition to a political party. See Jenness, 403 U.S. at 442
                (“There is surely an important state interest in requiring
                some preliminary showing of a significant modicum of
                support before printing the name of a political organization’s
                candidate on the ballot—the interest, if no other, in avoiding
                confusion, deception, and even frustration of the democratic
                process at the general election. . . .”); see also Munro,
                479 U.S. at 193 (“[I]t is now clear that States may condition
                access to the general election ballot by a minor-party . . .
                upon a showing of a modicum of support among the
                potential voters for the office. . . .”); Timmons, 520 U.S. at
                366 (“The State surely has a valid interest in making sure
                that minor and third parties who are granted access to the
                ballot are bona fide and actually supported, on their own
                merits, by those who have provided the statutorily required
                petition or ballot support.”) (citing Anderson, 460 U.S. at
                788 n.9 and Storer v. Brown, 415 U.S. 724, 733 (1974));
                Schrader, 241 F.3d at 790 (same); Dart v. Brown, 717 F.2d
                1491, 1502 (5th Cir. 1983) (same); Lightfoot v. Eu, 964 F.2d
                865, 871 (9th Cir. 1992), as amended (“The State’s interest
                in requiring that a candidate demonstrate a modicum of
                support is significant enough to justify not only refusing to
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                place a candidate on the ballot, but also refusing to designate
                a candidate on the ballot as Libertarian. In the latter case,
                the 1% threshold serves to avoid voter confusion by
                requiring that a candidate have sufficient support from
                within a party before his or her name will be associated with
                that party on the ballot. . . .”)

                   It is this very modicum of support requirement that
                prevents Soltysik from being listed on the ballot as a member
                of the Socialist Party USA. And various courts have
                convincingly rejected similar challenges.

                    In Jenness, the United States Supreme Court addressed a
                challenge to a Georgia statute that prohibited the printing of
                a candidate’s name on an election ballot unless the candidate
                had won a party’s primary or had garnered at least 5% of the
                votes cast in the last general election for the office. See
                403 U.S. at 432. In concluding that there was no
                constitutional violation, the Court noted that the
                associational rights of candidates and voters remained intact.
                See id. at 439. The Court ruled that the election statute
                “ha[d] insulated not a single potential voter from the appeal
                of new political voices within [Georgia’s] borders.” Id. at
                442.

                     In Timmons, the Supreme Court resolved a challenge to
                a Minnesota statute that “prohibit[ed] a candidate from
                appearing on the ballot as the candidate of more than one
                party.” 520 U.S. at 353–54. The Court rejected a
                constitutional challenge to this “fusion” prohibition. See id.
                The Court observed that “the supposed benefits of fusion to
                minor parties do not require that Minnesota permit it.” Id. at
                362. The Court acknowledged the argument that the
                prohibition burdened the right of the party “to communicate
                its choice of nominees on the ballot on terms equal to those
                offered other parties, and the right of the party’s supporters
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                and other voters to receive that information.”                   Id.
                Nevertheless, the Court found no First Amendment violation
                or denial of equal protection, remaining “unpersuaded, . . .
                by the party’s contention that it has a right to use the ballot
                itself to send a particularized message, to its candidate and
                to the voters, about the nature of its support for the
                candidate.” Id. at 362–63, 370. The court summed up its
                ruling by reasoning that “Minnesota’s laws do not restrict the
                ability of the [party] and its members to endorse, support, or
                vote for anyone they like. The laws do not directly limit the
                party’s access to the ballot. . . . [The laws] only . . . rul[e] out
                those few individuals who . . . have already agreed to be
                another party’s candidate . . .” Id. at 363.

                    The Court ultimately ruled that the burden imposed by
                Minnesota’s fusion ban was “justified by correspondingly
                weighty valid state interests in ballot integrity and political
                stability.” Id. at 369–70 (footnote reference and internal
                quotation marks omitted).

                    In Socialist Workers Party v. Eu, 591 F.2d 1252, 1254
                (9th Cir. 1979), we upheld as constitutional a California
                statute “specif[ying] that candidates of political parties
                qualified to participate in the state’s primary election shall
                be designated by party affiliation on the general election
                ballot while any candidate qualifying for the ballot through
                the independent petition procedure shall be identified on the
                general election ballot solely as ‘Independent. . . .’”

                    This provision precluded any party designation on the
                ballot for a candidate who qualified as “an independent
                nominee to a partisan office.” Id. at 1255. Rather, the
                nominee had the option of including a three-word statement
                “designating the principal professions, vocations or
                occupations of the candidate.” Id. (citation and internal
                quotation marks omitted).
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                    Although we recognized that the election law had
                “possible effects on both associational and voting rights,” we
                nonetheless concluded that the law “placed no
                unconstitutional restrictions on ballot access.” Id. at 1260–
                61. Instead, it “merely limit[ed] an indication of party
                affiliation to those parties that have qualified.” Id. at 1261
                (emphasis added). We rejected the argument that “to list
                candidates as ‘Independent’ who affiliate themselves with a
                non-qualified political party leads to voter confusion.” Id.
                (emphasis added). We reasoned that the term “Independent”
                has an established meaning under California law, and that a
                state may choose such a term of art “to categorize its
                candidates without impermissibly burdening their rights or
                the rights of those who vote for or associate with them.” Id.
                The fact that some voters might misinterpret the term did not
                render the law unconstitutional because the label “accurately
                explain[ed] the presence of the candidate’s name on the
                ballot” and was “a legitimate description indicating the
                reason a name is on the ballot.” Id. We concluded that the
                challenged provision did not “constitute an invidious or
                arbitrary classification,” and was “rationally related to the
                state’s legitimate interest in regulating its electoral process.”
                Id. at 1262.

                    Our analysis in Socialist Workers’ Party is readily
                transferable to the remarkably similar facts of this case.
                Substitute the phrase “Party Preference: None” in the case
                before us for the term “Independent” in Socialist Workers’
                Party and the parallel is apparent. Nor does the fact that
                California later adopted an open primary system alter this
                analysis because cases rejecting similar challenges have
                involved an open primary system. See, e.g., Munro,
                479 U.S. at 191 (addressing a blanket primary); Dart,
                717 F.2d at 1494 (involving an open primary); and Field,
                199 Cal. App. 4th at 359–60 (concluding that the same
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                analysis applies to ballot labels whether the system is a
                partisan primary or an open primary). The Field case is
                particularly persuasive because it is a California case
                interpreting California law.

                      In Lightfoot, 964 F.2d at 866, 869, the candidate
                complained that a California ballot restriction “infringed on
                . . . the freedom to associate” because the candidate was
                prevented from being designated as a Libertarian due to
                failure to garner “1 percent of all votes cast for the office at
                the last preceding general election.” The Libertarian Party
                was therefore not a “qualified party” under California law,
                and no candidates could be designated on the ballot as
                “Libertarian.” Id. at 870. We described this burden four
                times as “slight.” Id. at 870–72. We explained that the
                “1% threshold serves to avoid voter confusion.” Id. at 871.
                We concluded that because this 1% threshold imposed only
                a slight burden and because the State’s interest in
                minimizing voter confusion was compelling, there was no
                violation of the First Amendment right of association. See
                id.

                    Dart, a case we cited with approval in Rubin, 308 F.3d
                at 1016, involved facts virtually identical to those in this
                case, including an open primary. Dart was a registered
                member of the Libertarian Party, but the Libertarian party
                was not a recognized party under Louisiana law. See
                717 F.2d at 1492. As a consequence, the party designation
                space on the primary ballot was left blank, although Dart’s
                four opponents were designated as “Democrats.” Id. at
                1493.

                   Rejecting Dart’s constitutional challenge, the Fifth
                Circuit observed that because the candidate of the
                Libertarian Party was on the ballot, there was no denial of
                access, despite the lack of designation of party under Dart’s
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                name. See id. at 1499. The Fifth Circuit reasoned that
                Libertarian Party members could fully associate with,
                campaign for, and support a candidate who was committed
                to advancing their political beliefs. See id. The Fifth Circuit
                characterized any injury to First Amendment rights as “at
                most indirect, attenuated and slight.” Id. at 1505. The Fifth
                Circuit explained that “the ballot’s omission of the
                designation ‘Libertarian’ by Dart’s name, while listing
                ‘Democrat’ by the name of each of his four opponents,
                resulted not from any invidious or irrational discrimination,
                but rather from neutral criteria of general and evenhanded
                application . . .” Id. at 1504. The Fifth Circuit added that
                this “neutral criteria” of a showing of a prescribed measure
                of support in the most recent election had been established
                by Supreme Court precedent as “rationally and legitimately
                related to distinctions which the state may make between
                political parties . . . on the basis of success in prior
                elections.” Id. (citations and parentheses omitted). The
                Fifth Circuit clarified that:

                       [I]f candidate political party affiliation is to
                       be designated on the ballot, the potential
                       exists for voter confusion or deception unless
                       there are some restrictions on what
                       constitutes a political party . . . For the state’s
                       ballot to represent that a candidate is
                       affiliated with a particular political party,
                       when in fact there is no such party in the
                       commonly understood sense of the word, has
                       the obvious potential for causing voter
                       deception and confusion. . . . [J]ust as an
                       unrestricted proliferation of candidate names
                       on the ballot may engender confusion or
                       deception, so may an unrestricted
                       proliferation of party names. And, requiring
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                       some preliminary showing of a significant
                       modicum of support for a party before a
                       candidate’s affiliation with it is designated on
                       the ballot is necessary to further the state’s
                       strong and legitimate interest in minimizing
                       ballot confusion and deception . . .

                Id. at 1508–09.

                    The Fifth Circuit concluded that although the state of
                Louisiana “treats the Libertarian Party differently from some
                other parties, it does so solely on the basis of neutral, even-
                handed criteria of general applicability. It is not required to
                treat things that are different as though they were exactly
                alike.” Id. at 1510 (citations and internal quotation marks
                omitted). The court held that the criteria underlying the
                modicum of support requirement “and the treatment
                resulting from their application” are reasonably calculated
                and important to the furtherance of strong and legitimate
                interests of the State. Id.

                    In Schrader, another case cited with approval in Rubin,
                308 F.3d at 1015, the Sixth Circuit similarly addressed a
                challenge from the Libertarian Party in Ohio that “had not
                met the requirements to be recognized as a political party”
                due to failure to garner at least five per cent of the vote
                during the last regular election. 241 F.3d at 784. Applying
                the balancing test set forth in Anderson, the Sixth Circuit
                held that the state’s “interest in making sure that minor and
                third parties who are granted access to the ballot are bona
                fide and actually supported,” outweighed the burden of not
                having a party “cue” on the ballot and “survive[d]
                constitutional challenge.” Id. at 790–91.

                    California courts, interpreting California law, have
                issued similar rulings. In Libertarian Party of California v.
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                Eu, 28 Cal. 3d 535 (1989) (in bank), the California Supreme
                Court was tasked with determining “the constitutionality of
                section 10210 of the Elections Code insofar as it requires that
                persons qualifying for the ballot by the procedure of
                independent nominations be designated on the ballot as
                Independent.” Id. at 538 (internal quotation marks omitted).
                The Libertarian Party challenged the law, arguing that its
                candidates were denied due process and equal protection of
                the law when they were listed as “Independent” rather than
                members of the Libertarian Party. Id. at 540.

                    The California Supreme Court started from the premise
                that “the California Constitution vests the Legislature with
                plenary power over the conduct of elections” in California.
                Id. The court observed that, “[p]ursuant to this grant of
                power, the Legislature determined that . . . ‘party’ [is] a
                political organization that has ‘qualified for participation in
                any primary election.’” Id.

                    A party could qualify as a party under the California
                Election Code in one of two ways: 1) voter registration of
                affiliated members in a number equal to 1 percent of the
                voters in the most recent gubernatorial election, or 2) filing
                of a petition signed by voters in a number equal to 10 percent
                of the statewide vote for the most recent gubernatorial
                election. See id. at 540–41. For parties that failed to qualify
                under either of these procedures, the court explained:

                       The Legislature also recognizes that an
                       individual may have significant public
                       support and yet not be affiliated with a
                       qualified party. To permit such persons to
                       appear on the general election ballot, the
                       Legislature has provided the special
                       procedure of “independent nomination,” i.e.,
                       nominations by petition. . . . If a candidate
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                       qualifies for a general election by means of
                       such an “independent nomination,” the word
                       “Independent” is printed on the ballot after
                       his name instead of a party designation . . .

                Id. at 541–42 (citations omitted).

                    The court was not persuaded by the Libertarian Party’s
                argument that “denying its candidates the right to be listed
                on the ballot as Libertarian” was unconstitutional. Id. at 542
                (internal quotation marks omitted). The court concluded that
                the challenged provision “imposes an insubstantial burden
                on the rights to associate and to vote and that the statute
                serves a compelling state interest to protect the integrity and
                stability of the electoral process in California.” Id. (footnote
                reference omitted).

                    The court elucidated that the challenged provision
                “necessarily” treats candidates differently depending on
                whether or not they are affiliated with a qualified party. Id.
                at 544. The California Legislature has determined that only
                those candidates affiliated with a qualified party are entitled
                to a party affiliation designation on the ballot. See id.
                According to the court’s analysis, “it is not inaccurate to
                describe candidates who qualify for the ballot by the
                independent nomination method as independents, for such
                candidates are independent of the qualified political parties.”
                Id. (emphasis in the original). Designating a candidate who
                qualified under the independent nominating process as a
                party candidate “would be misleading,” and the state has a
                vital interest in eliminating misleading information from a
                voter’s ballot. Id. at 544–45 (quoting Jenness, 403 U.S. at
                442). The California Supreme Court surmised that this vital
                state interest would be “subvert[ed] . . . if nonqualified
                parties could achieve ballot status simply by having their
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                candidates add a wholly unauthorized party designation to
                their independent nomination papers.” Id. at 546 (footnote
                reference omitted). The court clarified that “[i]t was by just
                this device, however, that the Libertarian Party sought to
                appear qualified when it was not.” Id.

                     The precepts set forth in Libertarian Party were
                faithfully followed by the California Court of Appeal in the
                more recent Field decision. Once again, a California court
                interpreting California law upheld an election provision
                limiting party designation on a ballot to qualified parties.
                See 199 Cal. App. 4th at 350. Importantly, the Court of
                Appeal described the constitutional issue as “essentially the
                same as the one rejected in Libertarian Party.” Id. The
                Field case and the Libertarian Party case were considered
                “essentially the same” despite the fact that the Field case
                arose following California’s adoption of the open primary
                system, and despite the fact that the challenged designation
                in Field was “No Party Preference” rather than
                “Independent” for candidates of non-qualified political
                parties. Id. at 350–51, 354. The Court of Appeal adopted
                the California Supreme Court’s reasoning that the
                challenged provision “imposes an insubstantial burden on
                the rights to associate and to vote and that the statute serves
                a compelling state interest to protect the integrity and
                stability of the electoral process in California.” Id. at 357
                (quoting Libertarian Party, 28 Cal. 3d at 542). The Court of
                Appeal reiterated that “the Libertarian Party is in no way
                restricted in its associational activities or in its publication of
                the affiliation of its candidates. It is only proscribed, so long
                as it remains unqualified, from designating the affiliation on
                the ballot.” Id. (quoting Libertarian Party, 28 Cal. 3d at
                545).
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                    The Court of Appeal was persuaded that important state
                interests outweighed the insubstantial burden imposed by the
                election statute. The court explained that “maintenance of
                the integrity of the distinction between qualified and non-
                qualified parties serves a compelling state interest and the
                restriction of party designation on the ballot set forth in [the
                statute] furthers that interest without substantially impairing
                the rights of political association and voting.” Id. (citation
                and alteration omitted). The court stated in no uncertain
                terms that “[a]llowing nonqualified parties to be listed on the
                ballot would cause deception, and even frustration of the
                democratic process in California.” Id. at 358 (citation and
                internal quotation marks omitted). Stressing the importance
                of the party qualification process, the court added: “Until a
                party becomes qualified, it is not a party whose access to the
                ballot is secured under the provisions for nomination of
                qualified party candidates, and it would be misleading to
                designate the candidate of that political group as a political
                party candidate on the ballot. . . .” Id. (citation and internal
                quotation marks omitted) (emphases in the original).

                    The Court of Appeal explicitly rebuffed the contention
                that Libertarian Party was inapplicable because that case
                addressed a closed primary system and Field was
                challenging an election statute governing an open primary
                system. See id. at 359–60. In the process of reaching its
                conclusions, the court relied on Timmons and Schrader,
                cases upon which our decisions have also relied, as discussed
                above. The court characterized Libertarian Party as
                “directly on point.” Id. at 362.

                     Finally, and most persuasively, we recently decided a
                remarkably similar case in a way that is decidedly unfriendly
                to the majority’s analysis. See Chamness v. Bowen, 722 F.3d
                1110, 1119 (9th Cir. 2013) (concluding that the “No Party
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                Preference” listing or blank space imposed a “slight” burden
                outweighed by state interests).

                    In Chamness, we once more addressed the argument that
                the California election statute prohibiting candidates of
                unqualified parties from listing party affiliation violated the
                First Amendment. See id. at 1116. We were not persuaded,
                and “uph[e]ld the constitutionality of the statute as
                reasonably related to furthering the state’s important interest
                in efficiently regulating elections.” Id. We characterized the
                statute as “viewpoint neutral” because it applied to all
                candidates equally, and “has no viewpoint implications.” Id.
                at 1118. We observed that the statute served to prevent
                “electoral confusion,” id., and twice described any burden as
                “slight.” Id. at 1118–19.

                    The majority’s conclusion that the “No Party
                Preference” listing imposes a “serious” or “more than slight”
                burden, Majority Opinion, p. 13, is not only inconsistent
                with our determination in Chamness that this burden is
                “slight,” 722 F.3d at 1118–19, it also bumps heads with
                various other cases with similar facts describing comparable
                statutes as involving a “slight” or “minimal” burden. See
                Lightfoot, 964 F.2d at 870–72 (describing the burden as
                “slight” four times); Burdick, 504 U.S. at 439 (characterizing
                a prohibition on write-in votes as “slight” even though the
                prohibition directly denied voters the right to cast their votes
                as desired); Timmons, 520 U.S. at 363 (noting that provisions
                prohibiting candidates from associating with more than one
                party “limit, slightly, the party’s ability to send a message to
                the voters and to its preferred candidates”); Dudum, 640 F.3d
                at 1113 (identifying the burdens imposed by San Francisco’s
                runoff system as “minimal at best”); Arizona Libertarian
                Party, 798 F.3d at 732 (characterizing a voter registration
                form limiting party affiliation to the two major parties and
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                “other” as imposing a “de minimis” burden and a “slight”
                burden).

                    In contrast to this consistent and congruent line of cases,
                the majority cites no cases describing similar election
                restrictions as “serious” or “more than slight.” The cases
                cited by the majority do not contain such a description. In
                fact, the Dudum case described the challenged provision as
                imposing a burden that was “minimal at best.” 640 F.3d at
                1113. Similarly, in Arizona Green Party, 838 F.3d at 991,
                we concluded that the challenged filing deadline “imposes
                no more than a de minimis burden on the Green Party
                constitutional rights.”

                     Existing precedent also refutes the majority’s conclusion
                that the challenged provision precluding the listing of
                unqualified parties results in a misleading ballot. As
                discussed, cases at all levels have reached exactly the
                opposite conclusion: allowing unqualified parties to be
                listed on the ballot would be misleading and confusing. Our
                recent Chamness decision is most powerfully persuasive, as
                it addressed virtually the same provision challenged in this
                case. Rejecting the same constitutional challenge made by
                Soltysik, we reasoned that the “slight speech burdens”
                imposed by the “No Party Preference” requirement was not
                only “viewpoint neutral,” but justified by the State’s interest
                in “preventing misrepresentation and electoral confusion”
                that would otherwise result. 722 F.3d at 1118–19.

                    Perhaps recognizing that our recent decision in
                Chamness militates toward a different outcome, the majority
                seeks to distinguish this precedent on the basis that we
                pointed to a lack of evidence from Chamness. Majority
                Opinion, pp. 18–19. The majority takes the position that
                Soltysik never had the opportunity to develop evidence in
                support of his argument. See id. at 18. However, in context,
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                the language relied on by the majority does not carry the
                import conveyed by the majority. Indeed, the panel in
                Chamness was simply musing regarding a “possible
                difference” between the phrases “Independent” and “No
                Party Preference,” and potential evocations from the
                respective phrases. In the course of that musing, the panel
                included the “no evidence” statement without elaboration.
                722 F.3d at 1118. In any event, the majority’s argument
                elides the plethora of cases that have rejected similar
                arguments as a matter of law. See, e.g., Jenness, 403 U.S. at
                439, 442; Socialist Workers Party, 591 F.2d at 1254, 1261–
                62; Lightfoot, 964 F.2d at 869–72; Dart, 717 F.2d at 1504;
                Schrader, 241 F.3d at 790–91. This argument also ignores
                cases, including from the United States Supreme Court, that
                the state is not required to make an evidentiary showing of
                its interests. See Timmons, 520 U.S. at 364; see also Munro,
                479 U.S. at 196; Ariz. Libertarian Party, 798 F.3d at 732;
                Stone, 750 F.3d at 685.

                    The majority describes the precedent cited in this dissent
                as “most[ly]” arising from summary judgment rulings.
                Majority Opinion, p. 20. But “mostly” is not all, and some
                of the more compelling cases did not arise from summary
                judgment rulings. See Rubin, 308 F.3d at 1013 (“reviewing
                a 12(b)(6) dismissal”); Field, 199 Cal. App. 4th at 352
                (motion for a preliminary injunction); Stone, 750 F.3d at 680
                (dismissal for failure to state a claim); Storer, 415 U.S. at
                728 (complaints dismissed by “three-judge District Court”);
                Libertarian Party, 28 Cal.3d at 538 (writ of mandate). In
                any event, it does not strengthen the majority’s position that
                even after considering the best evidence the challengers
                could muster in the light most favorable to the challengers,
                courts have rejected similar challenges as a matter of law.
                See Szajer v. City of Los Angeles, 632 F.3d 607, 610 (9th Cir.
                2011) (reciting summary judgment standard); see also, e.g.,
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                Ariz. Libertarian Party, 798 F.3d at 733–34 (rejecting a
                similar challenge following summary judgment review).

                    One final point of disagreement—the majority’s
                discussion of alternatives. See Majority Opinion, pp. 16–19.
                The majority would have the state explain “why less
                burdensome (and less misleading) alternatives would not
                accomplish the goal of reducing voter confusion.” Id. at 16.
                However, as discussed, precedent is crystal clear that, in the
                absence of a severe burden to constitutional rights, no
                tailoring of election provisions is required. See Timmons,
                520 U.S. at 364 (“[T]he state need not narrowly tailor the
                means it chooses to promote ballot integrity . . .”); see also
                Dudum, 640 F.3d at 1114 (“[T]here is no requirement that
                the [challenged] rule is the only or best way to further the
                proffered interests.”) (citations omitted); Pest Committee,
                626 F.3d at 1110 (“The district court . . . was not obligated
                to consider whether Nevada’s system could or should be
                more narrowly tailored.”) (citation omitted);              Ariz.
                Libertarian Party, 798 F.3d at 732 (“[W]e need not
                determine whether the interests served by [the Arizona
                statute] can be better served by other means . . .”);
                Democratic National Committee v. Reagan, 904 F.3d 686,
                703 (9th Cir. 2018) (noting that the state is not necessarily
                “required to show that its system . . . is the one best tailored
                to achieve its purposes”) (citation omitted).

                    The majority’s contrary approach suggests that it is
                actually applying strict scrutiny. See Burdick, 504 U.S. at
                440 n.10 (concluding that the dissent in that case, like the
                majority in this case, “actually employ[ed] strict scrutiny” as
                evidenced by the argument “that the State could adopt a less
                drastic means”); see also Democratic National Committee,
                904 F.3d at 703 (relying on Dudum to note that narrow
                tailoring is not necessarily a required showing).
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                Nevertheless, the alternative means of communication that
                do exist weigh in favor of a finding of constitutionality. See
                Jenness, 403 U.S. at 438; see also Munro, 479 U.S. at 198;
                Timmons, 520 U.S. at 363; Rubin, 308 F.3d at 1016.

                    In sum, considering the fact that a ballot is a means of
                gathering votes rather than a means of communication, the
                State of California acted within its considerable discretion in
                requiring a modicum of voter support before listing a party
                on its ballots. Because any burden on associational rights
                was slight and the restriction was viewpoint neutral, I am
                persuaded that existing case authority overwhelmingly
                militates in favor of upholding the challenged provision.

                    I would affirm the district court’s judgment dismissing
                the action.
